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1    MICHAEL B. BIGELOW
     Attorney at Law - SBN 65211
2    428 J Street, Suite 350
     Sacramento, California 95814
3    Telephone: (916) 443-0217

4    Attorney for Defendant
     Michael Staggs
5
                          UNITED STATES DISTRICT COURT
6
                         EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA          )
                                       )         No. Cr.S- CRS 02-287 FCD
9                     Plaintiff        )
                                       )         STIPULATION CONTINUING
10             vs.                     )         SENTENCING
                                       )
11                                     )         ORDER
     MICHAEL STAGGS                    )
                                       )         Date: January 9, 2006
12                                     )         Time: 9:30 AM
                      Defendant        )         Court: FCD
13                                     )
14

15        This matter is a remand from the Ninth Circuit Court of

16   Appeals and is presently scheduled for sentencing on November

17   28, 2005. The parties, through their respective counsel,

18   stipulate to the continuance of the sentencing to January 9,

19   2006 at 9:30 AM.

20        Assistant United States Attorney Christine Watson agrees
21   with this request and has authorized the undersigned to submit
22
     her signature.
23

24

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1         IT IS SO STIPULATED
2

3
          DATED: November 22, 2005            /S/ Michael B. Bigelow
4
                                              Michael B. Bigelow
                                              Attorney for Defendant
5

6

7
          Dated: November 22, 2005            /S/ Christine Watson
8                                             Christine, AUSA

9

10
                                       ORDER
11
          Upon stipulation of both parties, and for good cause shown,
12
     sentencing in this case is continued to January 9, 2006. This
13
     continuance is appropriate in order to maintain continuity of
14
     counsel.
15

16
          IT IS SO ORDERED
17

18   Dated: November   23, 2005               /s/ Frank C. Damrell Jr.
                                              Hon. Frank C. Damrell, Jr.
19                                            District Court Judge

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